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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA
            v.
                                                            Criminal Action No. 16-98 (CKK)
 IVAN L. ROBINSON,
                  Defendant



                              MEMORANDUM OPINION AND ORDER
                                      (July 11, 2017)
        In this criminal action, Defendant Ivan L. Robinson is charged with 61 counts of

knowingly and intentionally distributing a controlled substance, oxycodone, by writing

prescriptions for that drug outside the usual course of professional practice and not for a

legitimate medical purpose, in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(C), as well as 18

U.S.C. § 2. Defendant is also charged with two counts of money laundering and aiding and

abetting.        Now before the Court are numerous motions in limine addressing a wide range of

evidentiary issues.

        In Defendant’s [140] Motion in Limine No. 13 to Exclude Evidence of or Argument

Regarding the “Opioid Epidemic” or Similar References, Defendant moves the Court to exclude

any evidence, argument, or commentary about the public controversy surrounding opioid use,

including references to an “opioid epidemic” or “opioid crisis.”     Upon consideration of the

pleadings, 1 the relevant legal authorities, and the record as a whole, the Court will GRANT

Defendant’s thirteenth motion in limine.


1 The Court’s consideration has focused on the following documents: Defendant’s Motion in
Limine No. 13 to Exclude Evidence of or Argument Regarding the “Opioid Epidemic” or Similar
References, ECF No. 140 (“Def.’s Mot.”); Government’s Reply to Defendant’s Motion in Limine
No. 13, ECF No. 158 (“Gov.’s Opp’n”). The Court has also considered the oral representations
made at the Status Hearing on July 10, 2017.
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                                           I. DISCUSSION

       Little need be said about this motion in limine. The government has disavowed any

intention of referring to the “opioid epidemic” or “opioid crisis” at trial. Accordingly,

Defendant’s concern that the government will argue that “the public controversy associated with

opioid use . . . should be attributed to” Defendant, or that the government will “liken

[Defendant’s] conduct to others’ wrongful acts or . . . appeal to jurors’ potential prejudice against

anyone who prescribes opioid medication based on the current public controversy,” Def.’s Mot.

at 1, 3, is largely moot. The government is ordered to adhere to its representation and to not

make these arguments.     It would, of course, be improper for the government to “urge [the] jurors

to convict [Defendant] in order to protect community values, preserve civil order, or deter future

lawbreaking.”    United States v. Monaghan, 741 F.2d 1434, 1441 (D.C. Cir. 1984).

       The government has represented that it intends to offer testimony from its expert witness,

Dr. Mark Romanoff, regarding “the prevalence of opioid use,” as well as testimony from a

pharmacist regarding “the increase of opioid prescriptions,” but that it does not anticipate either

witness using the phrases “opioid epidemic” or “opioid crisis.”       Gov.’s Opp’n at 1. Based on

the present record, and with the understanding that this testimony shall not be used to make the

arguments discussed above, the Court sees no reason to exclude this limited testimony, which

does not strike the Court as unfairly prejudicial to the Defendant.

       Finally, the Court notes that the Defendant has also represented that he will not present

evidence of or make argument about the “opioid epidemic” or “opioid crisis.”       Defendant shall

adhere to this representation as well.   If the Defendant opens the door with respect to these

issues, the government may be entitled to respond.


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                                 II. CONCLUSION AND ORDER

           For the foregoing reasons, the Court GRANTS Defendant’s [140] Motion in Limine No.

13. Accordingly, it is, this 11th day of July, 2017, hereby

           ORDERED that neither party shall offer evidence of or make arguments about the public

controversy surrounding opioid use, including references to an “opioid epidemic” or “opioid

crisis.”    The Court’s rulings are based only on the present record.

           SO ORDERED.

                                                           /s
                                                       COLLEEN KOLLAR-KOTELLY
                                                       United States District Judge




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